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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT


RYAN MERHOLZ and MELVYN KLEIN,                 Case No.: 3:20-cv-00557-VAB
Derivatively on Behalf of WORLD WRESTLING
ENTERTAINMENT, INC.,

                         Plaintiffs,

      v.

VINCENT K. MCMAHON, STEPHANIE
MCMAHON, PAUL LEVESQUE, FRANK A.
RIDDICK, III, STUART U. GOLDFARB,
LAUREEN ONG, ROBYN W. PETERSON, MAN
JIT SINGH, JEFFREY R. SPEED, ALAN M.
WEXLER, GEORGE A. BARRIOS, and
MICHELLE D. WILSON,

                         Defendants,

      -an d-

WORLD WRESTLING ENTERTAINMENT,
INC.,

                         Nominal Defendant.


DANIEL KOOI, Derivatively on Behalf of         Case No.: 3:20-cv-00743-VAB
WORLD WRESTLING ENTERTAINMENT,
INC.,

                         Plaintiff,

      v.

 VINCENT K. MCMAHON, FRANK A.
 RIDDICK, III, JEFFREY R. SPEED, PATRICIA A.
 GOTTESMAN, STUART U. GOLDFARB,
 LAUREEN ONG, PAUL LEVESQUE, ROBYN W.
 PETERSON, STEPHANIE MCMAHON, MAN JIT
 SINGH, ALAN M. WEXLER, GEORGE A.
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 BARRIOS, and MICHELLE D. WILSON,

                            Defendants,
       -an d-

 WORLD WRESTLING ENTERTAINMENT,
 INC.,

                            Nominal Defendant.


 RODNEY NORDSTROM, Derivatively on Behalf of     Case No. 3:20-cv-00904-VAB
 WORLD WRESTLING ENTERTAINMENT,
 INC.,

                            Plaintiff,

       v.

 VINCENT K. MCMAHON, GEORGE A.
 BARRIOS, MICHELLE D. WILSON,
 STEPHANIE MCMAHON, PAUL LEVESQUE,
 FRANK A. RIDDICK III, STUART U. GOLDFARB,
 LAUREEN ONG, ROBYN W. PETERSON, MAN
 JIT SINGH, JEFFREY R. SPEED, ALAN M.
 WEXLER, and PATRICIA A. GOTTESMAN,

                            Defendants,

       -an d-

 WORLD WRESTLING ENTERTAINMENT,
 INC.,

                            Nominal Defendant.


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 RYAN B. MERHOLZ and NICHOLAS JIMENEZ,             Case No. 3:21-cv-00789-VAB
 Derivatively On behalf Of WORLD WRESTLING
 ENTERTAINMENT, INC.,

                              Plaintiffs,

                         v.

 VINCENT K. MCMAHON, STEPHANIE
 MCMAHON, PAUL LEVESQUE, FRANK A.
 RIDDICK, III, STUART U. GOLDFARB,
 LAUREEN ONG, ROBYN W. PETERSON, MAN
 JIT SINGH, JEFFREY R. SPEED, ALAN M.
 WEXLER, GEORGE A. BARRIOS, and MICHELLE
 D. WILSON,

                              Defendants,

       -and -

 WORLD WRESTLING ENTERTAINMENT, INC.,

                              Nominal Defendant.


 JESSE REZENDES, Derivatively on Behalf of         Case No. 3:21-cv-00793-VAB
 WORLD WRESTLING ENTERTAINMENT, INC.,

                              Plaintiff,

       v.

 VINCENT K. MCMAHON, GEORGE A. BARRIOS,
 and MICHELLE D. WILSON,

                              Defendants,

       -and-

 WORLD WRESTLING ENTERTAINMENT, INC.,

                               Nominal Defendant


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 CITY OF PONTIAC POLICE AND FIRE                            Case No. 3:21-cv-00930-VAB
 RETIREMENT SYSTEM, derivatively on behalf of
 WORLD WRESTLING ENTERTAINMENT, INC.,

                                Plaintiff,

           v.

 VINCENT K. MCMAHON, GEORGE A. BARRIOS,
 and MICHELLE D. WILSON,

                                Defendants,

           -and -

 WORLD WRESTLING ENTERTAINMENT, INC.,

                                Nominal Defendant.


                                MOTION TO RE-OPEN CASE

       In accordance with this Court’s order administratively closing the above captioned matters,

dated August 18, 2021 (Merholz, et al. v. McMahon, et al., No. 3:20-cv-00557-VAB, ECF 103;

Kooi v. McMahon, et al., No.: 3:20-cv-00743-VAB, ECF 117; Nordstrom v. McMahon, et al., No.

3:20-cv-00904-VAB, ECF 110; Merholz, et al. v. McMahon, et al., No. 3:21-cv-00789-VAB,

ECF 54; City of Pontiac Police & Fire Ret. Sys. v. McMahon, et al., No. 3:21-cv-00930-VAB,

ECF 45; and Rezendes v. McMahon, et al., No. 3:21-cv-00793-VAB, No. 43), proposed intervenor

Dennis Palkon (“Proposed Intervenor”)1 respectfully requests that these matters be reopened and

restored to the Court’s active docket for purposes of effectuating the parties’ settlement agreement,




       1
          Proposed Intervenor has filed motions to intervene in Case Nos. 3:20-cv-00557-VAB, 3:20-
cv-00743-VAB, and 3:20-cv-00904-VAB, and, as reflected herein, is a party to an agreement in
principle to settle all of the above-captioned actions.



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for which Court approval is required. In support of this Motion, Proposed Intervenor avers

as follows:

       1.      On August 16, 2021, the parties to the above-captioned actions reached an

agreement in principle to resolve all claims in all of the actions, as reflected in the Notice filed

with the Court on August 17, 2021. No. 3:20-cv-00557-VAB, ECF 102; No. 3:20-cv-00743-VAB,

ECF 116; No. 3:20-cv-00904-VAB, ECF 109; No. 3:21-cv-00789-VAB, ECF 53; No. 3:21-cv-

00930-VAB, ECF 44; and No. 3:21-cv-00793-VAB, ECF 42.

       2.      On August 18, 2021, the Court ordered that each case be administratively closed,

setting a deadline of September 17, 2021, for the parties “to file a stipulation of dismissal or move

to reopen the case.” No. 3:20-cv-00743-VAB, ECF 117; No. 3:20-cv-00904-VAB, ECF 110;

No. 3:21-cv-00789-VAB, ECF 54; No. 3:21-cv-00930-VAB, ECF 45; and Case No. 3:21-cv-

00793-VAB, ECF 43.

       3.      Under Rule 23.1(c) of the Federal Rules of Civil Procedure, the parties must seek

the Court’s approval of their settlement agreement. The parties have been diligently working on

the papers seeking this approval, and Proposed Intervenor believes that the parties will be in

position to file these papers by September 21, 2021.

       WHEREFORE, Proposed Intervenor requests that the Court grant this Motion and that the

above-captioned cases be reopened and restored to the Court’s active docket in anticipation of the

parties’ forthcoming motion for preliminary approval of their settlement agreement.




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Dated: September 17, 2021                 Respectfully submitted,

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                                          Attorneys for Proposed Intervenor Dennis
                                          Palkon




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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 17, 2021, I electronically filed the above-titled document

with the Clerk of Court using the CM/ECF system which will send notification of such filing to

those registered as CM/ECF participants.

                                                    /s/ William H. Narwold
                                                    William H. Narwold (CT 00133)




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